United States District Court
Northern District of California

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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

MELISSA RYAN,
Plaintiff,

V.

23 ANDME, INC.,
Defendant.

Case No. 23-cv-05968-CRB

REFERRAL FOR PURPOSES OF
DETERMINING RELATIONSHIP

Pursuant to Civil Local Rule 3-12(c), the above-entitled case is REFERRED to the

Honorable Judge Chen for consideration of whether the case is related to Santana et al. v.

23andMe, Inc., No. 3:23-cv-5147.

IT IS SO ORDERED.
Dated: January 3, 2024

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CHARLES R. BREYER
United States District Judge

